
SLOSS, J.
This case was argued and submitted with County of Plumas v. Wheeler, just decided, ante, p. 758, [87 Pac. 909], and involves the validity of an ordinance of Sierra County, substantially similar to the ordinance bf Plumas *770County, considered -in the Wheeler ease. Here a general demurrer to the county’s complaint setting forth the ordinance and seeking to recover license fees under it, was overruled, with leave to the defendant to answer. Upon his default for failure to answer within the time allowed, plaintiff had judgment according to the prayer of its complaint. Defendant appeals.
For the reasons stated in County of Plumas v. Wheeler, ante, p. 758, the complaint stated a cause of action, and the demurrer was properly overruled.
The judgment is affirmed.
Shaw, J., Angellotti, J., and Beatty, C. J., concurred.
Rehearing denied.
